
MaddeN, Judge,
delivered the opinion of the court:
The plaintiffs, as trustees in liquidation and dissolution of Ridgefield Manufacturing Corporation, hereinafter called Ridgefield, sue to recover income and excess profits taxes, and interest thereon, paid by them for Ridgefield for the fiscal year ending July 31,1946.
In December 1946 the plaintiffs filed Ridgefield’s returns for the year in question. The returns showed an income tax liability of $46,549.56 and no excess profits tax liability. The reported income tax liability was paid, partly before and the balance at the time of the filing of the return. These payments were made to the Collector of Internal Revenue for the Fifth District of New Jersey.
On July 28, 1947, the plaintiffs delivered four checks, amounting in all to $9,246.90 to the Collector for the Third Collection District of New York. Again on October 3,1947, the plaintiffs delivered two checks amounting to $1,326.37 to the same Collector. All of these checks were drawn on a Ridgefield account, and none of them indicated what they were for. Not having any tax account to which to apply them, the New York Collector deposited all these six checks, amounting to $10,573.27 in an account designated “Miscellaneous Account.”
On April 29,1949, a statutory deficiency notice was issued to the plaintiffs, asserting a deficiency against Ridgefield, for the fiscal year 1946 of $12,204.10 in income tax and $9,951.79 in excess profits tax. On May 16, 1949, the plaintiffs filed a petition with the Tax Court of the United States for rede-termination of these asserted deficiencies. After trial the Tax Court issued its opinion on February 2,1951. The Government then filed a detailed computation which was made up in compliance with the Tax Court’s opinion, and the plaintiffs endorsed upon the computation their agreement that the computation was in accordance with the Tax Court’s opinion. The computation showed an income tax liability of $59,315.58 *144and an excess profits tax liability of $3,075.62. It applied the payments of $46,549.56, made at or before the filing of the return, and $6,461.82 out of one of the “Miscellaneous Account” checks, to the income tax liability, and that left an unpaid balance of $6,304.20. It applied the balance of that one of the miscellaneous account checks out of which $6,461.82 had already been applied to income tax, and another miscellaneous account check for $1,251.29, a total of $3,369.43 against the excess profits tax deficiency. That sum exceeded the excess profits tax deficiency by $293.81.
Upon the presentation to the Tax Court of the agreed computation, the court, on March 20, 1951, entered its decision which was that there was a deficiency in income tax in the amount of $6,304.20, and an overpayment in excess profits tax of $293.81. The decision was not appealed, and became final. The Commissioner of Internal Revenue thereupon assessed the taxes as shown by the computation, together with interest. He later corrected the computation of interest, and also seems to have credited the plaintiffs with four small checks paid into the miscellaneous account but which were not counted in the computation which preceded the Tax Court’s decision. The plaintiffs paid the amount assessed for income tax, and were refunded the overpayment of excess profits tax. They filed a timely claim for refund. No refund has been made, and they have brought this suit.
The plaintiffs’ suit is grounded upon their assertion that the Tax Court decided that they owed only $6,304.20 in taxes, in addition to the $46,549.56 which they had paid when they filed their original return in 1946. Therefore, they say, the $10,573.27 which the Commissioner of Internal Revenue had in the miscellaneous fund, and kept, and the more than $7,000 which he collected from them after the Tax Court decision, overpaid their taxes by the amount of $10,389.41 for which they sue.
The Tax Court undoubtedly took into consideration the payments which the plaintiffs had made into the miscellaneous fund when it determined the amount of their deficiency in income tax. The computation, made after the issuance of the Tax Court’s opinion, and agreed to by both parties, showed all of these payments except four small ones, and *145computed the deficit after giving credit for the payments. The Tax Court’s determination of an overpayment of $293.81 of excess profits tax would have been most remarkable if the court had considered only the payments made with the returns, since the plaintiffs’ excess profits tax return had shown no tax due, and none was paid with it. So the plaintiffs are, in effect, asserting that whatever may have been the intention of the Tax Court, what it said had the legal effect which the plaintiffs insist upon.
We see no merit in this argument. The decision of a court, like any other piece of human composition, means what the writers of it intend it to mean, if the words used will bear a meaning consistent with that intention. Here the decision of the Tax Court expressly referred to the agreed computation, and purported to embody the computation in a judgment.
If the legal judgment of the Tax Court was something different from what it said, and meant to say, the reason must be in some legal doctrine which controls and determines the legal effect of the Tax Court’s decisions. The plaintiffs state the legal questions involved in this litigation in three different ways, but each of the statements assumes that the Government is contending that the Tax Court’s decision was wrong, and is asking us to disregard it. This reiterated assumption is unfounded, hence, if there is a legal question worthy of consideration, we must ourselves find it and state it. The plaintiffs point out that, at the time of the Tax Court’s decision in 1951, the Commissioner of Internal Revenue had not yet applied the miscellaneous account deposits to pay any assessed tax. They say that it was then too late to assess and collect the tax. If it were the law that a taxpayer who had put money in the hands of the Government’s tax collector, presumably to pay taxes, could, although he owed the Government taxes, demand the return of that money if the Government failed to assess the taxes within the statutory time, it would seem that the plaintiffs’ right to do so in this case was foreclosed by the final decision of the Tax Court that they still owed taxes after receiving credit for the money paid in before assessment. This court held in Rodney Milling Company v. United States, 111 C. Cls. 625, that deficien*146cies, though never assessed, may be collected by set off in a suit in this court. Section 271 (a) of the Internal Revenue Code of 1939, as amended by section 14 (a) of the Individual. Income Tax Act of 1944, c. 210, 58 Stat. 231, 245, in defining a deficiency, expressly requires the Government to credit the taxpayer with amounts collected without assessment. The plaintiffs cite Rosenman v. United States, 323 U. S. 658, where it was held that money deposited with the collector in 1934 to cover whatever deficiencies the future might define, but which was not appropriated to a tax obligation until 1938, could be recovered by the taxpayer within the statutory period after the latter date, upon a showing that he did not owe the tax. For the purpose there in question, the tax was not “paid” until 1938. But that does not mean that a taxpayer, actually owing taxes, could demand the return of his money leaving his taxes unpaid.
The plaintiffs’ petition will be dismissed.
It is so ordered.
Laramore, Judge; Whitaker, Judge; LittletoN, Judge; and JONES, Chief Judge, concur.
FINDINGS OF FACT
The court, having considered the evidence, the report of Commissioner Donald E. Lane, and the briefs and argument of counsel, makes findings of fact as follows:
1. The plaintiffs are the trustees in liquidation and dissolution of Ridgefield Manufacturing Corporation, a corporation organized and subsequently dissolved under the laws of the State of New Jersey. The corporation was dissolved on December 26,1945.
2» The plaintiffs, as trustees for Ridgefield, filed timely Federal income tax and excess profits tax returns on an accrual basis for the fiscal year August 1, 1945, to July 31, 1946. The returns were filed December 11, 1946 with the Collector of Internal Revenue for the Fifth District of New Jersey. Plaintiffs paid the tax shown due on said returns, to wit, income tax of $46,549.56, and excess profits tax none, by a payment of $6,000 on October 15, 1946, and a payment of $40,549.56 on December 11, 1946, to the said collector.
*1473.The plaintiffs delivered to the Collector of Internal Kevenue for the Third Collection District of New York four checks dated July 28,1947, as follows:
Check #162_ $214.36
“ #163_ 23.58
» #164__ 8,579.96
“ #165_’_ 429. 00
and delivered to said collector; two additional checks dated October 3,1947, as follows:
Check #187_$1, 251. 29
« #188_ 75. 08
Said six checks, Plaintiffs’ Exhibit 2, were drawn on an account of Ridgefield Manufacturing Corporation by J. Gilmore Fletcher, Treasurer, and do not bear a marking of what taxes or interest they were tendered to cover.
4. The Collector of Internal Revenue for the Third District of New York deposited said six checks in an account designated “Miscellaneous Account.”
5. On April 29, 1949, the Internal Revenue Service in New York City mailed a notice of a tax deficiency to the plaintiffs, alleging a deficiency in income tax in the sum of $12,204.10, and a deficiency in excess profits tax in the sum of $9,951.79, for the taxable year ended July 31, 1946.
6. On May 16, 1949, the plaintiffs filed their petition in The Tax Court of the United States for the redetermination of said deficiencies. Said Tax Court entered its decision in said proceeding on March 20, 1951, as follows:
DECISION
Pursuant to the determination of the Court as set forth in its Opinion promulgated February 2, 1951, the respondent filed computation for entry of decision, on which the petitioners have entered their agreement. Accordingly, it is
ORDERED AND DECIDED: That for the fiscal year ended July 31,1946, there is a deficiency in income tax in the amount of $6,304.20, and an overpayment in excess profits tax in the amount of $293.81, which $293.81 was paid within two years before the mailing of the notice of deficiency.
*1487. No appeal was taken from said decision, and the same became final.
8. The sum due and the sum overpaid noted in the decision of The Tax Court were computed by counsel for the Commissioner of Internal Revenue in accordance with The Tax Court’s opinion, and counsel for the petitioners, who are the plaintiffs here, agreed by endorsement that the computation was in accordance with the opinion.
9. The agreed computation for entry of decision by The Tax Court contains a Statement of Account showing:
(a) Income tax liability_§59,315. 58
Income tax paid Oct. 15, 1946-$6,000. 00
.Dec. 11, 1946_ 40,549.56
“ “ “ July 28, 1947 (check
#164)_ 6,461.82
Total_ 53,011.38
Deficiency in payment of income tax- 6,304.20
(b) Excess Profits Tax liability- 3,075.62
Excess Profits Tax paid July 28, 1947
(check #164)_$2,118.14
Excess Profits Tax paid Oct. 3,1947 (check
#187)_•_ 1,251.29
Total_ 3,369.43
Overpayment of excess profits tax_ 293.81
The agreed computation also contains a statement that “No agreement was executed pursuant to Sec. 276 (b) I. R. C.”
10.The net deficiency derived from the above Statement of Account is $6,304.20 minus $293.81, or the sum of $6,010.39. On July 23, 1951, the Collector of Internal Revenue demanded payment of additional income tax and interest thereon for the year ended July 31, 1946, in the sum of $5,793.32, and an additional excess profits tax and interest thereon for said year in the sum of $1,928.95, a total of $7,722.27, and notified plaintiffs that distraint warrants had been issued to collect the same. The payments made by the plaintiffs on July 25, 1951, to the Collector for the Third District of New York by check #242 in the sum of $5,793.32 and check #243 in the sum of $1,928.95, total $7,722.27, *149which latter sum equals the said net deficiency of $8,010.39 plus interest thereon from 1947 to July 23, 1951, in the amount of $1,711.88.
11. In the computation for entry of The Tax Court decision, petitioners were given credit for payments made by Ridgefield checks #164 and #187, dated July 28, 1947 and October 3,1947.
12. On the Assessment List dated May 11, 1951, for the Fifth District of New Jersey, the Commissioner of Internal Revenue made assessments of additional income and excess profits tax and interest against plaintiffs for the taxable year ended July 31,1946, as follows:
Additional income tax §12,768.02, interest $3,439.65.
Additional excess profits tax $3,075.62, interest $828.69.
13. In May 1951, the Commissioner of Internal Revenue issued a Certificate of Overassessment to the plaintiffs stating that interest on said income tax return had been over-assessed in the amount of $1,471.74, and stating that interest on said excess profits tax return had been overassessed in the amount of $670.26, for the taxable year ended July 31,1946.
14. In May 1951, two notices from the Internal Revenue Service to the plaintiffs stated the Ridgefield tax account, and listed the May 11,1951 assessment of $12,766.02 income tax plus $3,439.65 interest thereon, and listed a credit of $9,004.49 and the abatement of $1,471.74, indicating an unpaid balance of $5,729.44 for income tax and interest; and further listed the May 11, 1951 assessment of $3,075.62 excess profits tax plus $828.69 interest thereon, and listed a credit of $1,326.37 and the abatement of $670.26, indicating an unpaid balance of $1,907.68 for excess profits tax and interest. The listed credit of $1,326.37 on the excess profits tax statement is equal to the total of checks #187 and #188 which plaintiffs had previously tendered. The listed credit of $9,004.49 on the income tax is unexplained by the exhibits of record in this case, but it could have been an unallotted portion of the total of plaintiffs’ checks #162-165 inclusive dated July 28,1947.
15. On October 31, 1951, plaintiffs filed a claim on Form 843 with the Collector of Internal Revenue for the Third District of New York for the refund of $9,831.25 in income *150and excess profits taxes paid and the refund of $1,279.70 interest paid, the total amount claimed being $11,110.95. Said refund claim had not been acted upon at the date of the. filing of the petition in this case.
16. The plaintiffs’ petition herein asks judgment in the sum of $11,110.95, but plaintiffs’ requested findings of fact allege the collection of sums in excess of the sum allowed by the decision of The Tax Court in the lesser amount of $10,389.41.
17. The approved tax computation upon which The Tax Court entered its decision gives the plaintiffs full credit for payments tendered in October 1946, December 1946, July 1947, and October 1947 to the Collectors of Internal Revenue. The tax and interest payments made by the plaintiffs in July 1951 cover the deficiency found by The Tax Court, and interest thereon.
CONCLUSION OE LAW
Upon the foregoing findings of fact, which are made a part of the judgment herein, the court concludes that as a matter of law the plaintiffs are not entitled to recover, and their petition is dismissed.
